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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


VERONICA-MAY (neé NICHOLAS)
CLARK,
                                             Case No. 3:19-cv-575-VLB
            Plaintiff,

v.

ANGEL QUIROS, DR. GERALD
VALETTA, RICHARD BUSH, and                   October 8, 2021
BARBARA KIMBLE-GOODMAN,

            Defendants.



              JOINT MOTION FOR REFERRAL TO MAGISTRATE JUDGE



      Plaintiff Veronica-May Clark and Defendants Angel Quiros, Dr. Gerald

Valetta, Richard Bush, and Barba Kimble-Goodman respectfully move for a

referral to a Magistrate Judge for purposes of pursuing settlement.

      The parties have met, conferred, and had preliminary settlement

discussions and believe a settlement conference will likely lead to a resolution of

the case.

      For the reasons set forth above, the parties respectfully request that the

Court grant this motion and refer the parties to a Magistrate Judge to pursue

settlement.




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Dated: October 8, 2021             Respectfully submitted,

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